The question proposed is proper; a reversion like this may be passed by parol, without deed.
The question was asked and the jury found for the plaintiffs. A question was made upon the effect of the first deed, whether it conveyed the absolute property or only for life; but the judge gave no opinion *Page 159 
upon that point. He directed the jury to consider whether the parol evidence satisfied them that Spillar meant by consenting to Tuton's deed to pass his interest, if any he had.
Quere do hoc.
NOTE. — Since the act of 1806 (1 Rev. Stat., ch. 37, sec. 17), which requires gifts of slaves to be in writing, it has been decided that the title to slaves cannot be transferred, without consideration, by virtue of an estoppel, arising from the misrepresentations of the owner, as that would be in contravention of the act. Jones v. Sasser, 18 N.C. 452.